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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 1:20-cr-20242-HUCK/BECERRA


  UNITED STATES OF AMERICA,


  v.

  JOSE MIGUEL FERNANDEZ,

        Defendant.
  _____________________________________/

       ORDER ADOPTING AND AFFIRMING R&R AND ADJUDICATING DEFENDANT
                                 GUILTY

         THIS MATTER came before the Court upon Magistrate Judge Jacqueline Becerra’s

  Report and Recommendation (“R&R”) on Plea of Guilty [ECF No. 46], which was entered on

  April 19, 2021. In the R&R, Judge Becerra found that the Defendant Jose Miguel Fernandez freely

  and voluntarily entered a plea of guilty as to Counts I and II of the Indictment, which charges

  Defendant with conspiracy to possess with intent to distribute a controlled substance (Count I), in

  violation of Title 21 U.S.C. § 846, and attempt to possess with intent to distribute a controlled

  substance (Count II), in violation of Title 21 U.S.C. § 841(a)(1).

         Magistrate Judge Becerra recommends that this Court accept Defendant’s guilty plea, that

  Defendant be adjudicated guilty of Counts I and II, and that a sentencing hearing be conducted for

  final disposition of this matter. The Court has reviewed Judge Becerra’s R&R, no objections have

  been filed, and the Court has been advised that no objections will be filed. Therefore, based on a

  de novo review of the evidence presented, it is hereby

         ORDERED AND ADJUDGED that (1) Magistrate Judge Becerra’s R&R on Change of

  Plea is ADOPTED and AFFIRMED in its entirety; (2) the Court accepts Defendant’s plea of
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  guilty, and Defendant is hereby adjudged guilty as to Counts I and II of the Indictment; (3) a

  sentencing hearing before the Honorable Paul C. Huck is set for Wednesday, July 21, 2021 at

  2:00 PM; and (4) the jury trial previously set for May 24, 2021 and the calendar call previously

  set for May 19, 2021 [ECF No. 31] are now cancelled as they relate to Defendant Jose Miguel

  Fernandez.

         DONE AND ORDERED in Miami, Florida on May 12, 2021.




                                                     PAUL C. HUCK
                                                     UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Jacqueline Becerra
  Counsel of record
